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MA.SEND cc: U.S.Probation

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

 

 

 

 

 

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CRIMINAL MINUTES - GENERAL oS
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Case No. CR 01-633 GPS Date June 26, 2006
Present: The Honorable GEORGE P. SCHIAVELLI, United States District Judge
Interpreter
Krista Barrett Rosalyn Adams Peter Hernandez
Deputy Clerk Court Reporter/Recorder, Tape No. Assistant U.S. Attorney
U.S.A. v. Defendant(s): Fresent Cust. Bond Attorneys for Defendants; Present App. Ret.
ABDALLAH M. DAIS X x Darlene Ricker X x

Proceedings: STATUS CONFERENCE; REQUEST FOR NEW COUNSEL

Counsel and court confer out of the presence of the government. The request for new counsel is denied. The
sentencing is continued to July 24, 2006 at 9:00 a.m.

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Initials of Deputy

Clerk (of

cc:

 

 

 

 

 

 

 

 

 

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